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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF KENTUCKY
                 ASHLAND, LONDON, AND LEXINGTON DIVISIONS

IN RE:                                                       CHAPTER 11

LICKING RIVER MINING, LLC, et al.                            CASE NO. 14-10201

         DEBTORS IN POSSESSION                               JOINTLY ADMINISTERED


   MONTHLY FEE STATEMENT OF GLASSRATNER ADVISORY & CAPITAL
 GROUP, LLC FOR PROFESSIONAL SERVICES AND DISBURSEMENTS FOR THE
PERIOD OF NOVEMBER 1, 2014 THROUGH AND INCLUDING NOVEMBER 30, 2014



NAME OF APPLICANT:             GlassRatner Advisory & Capital Group, LLC

ROLE IN THE CASE:              Financial Advisors for the Debtors and Debtors in Possession

DATE OF RETENTION:             June 12, 2014 (for Licking River Resources, Inc., Licking
                               River Mining, LLC, S. M. & J., Inc., J.A.D. Coal Company,
                               Inc., Fox Knob Coal Co., Inc.) and June 27, 2014 (for U.S.
                               Coal Corporation) per Final Order Authorizing the
                               Employment of GlassRatner Advisory & Capital Group as
                               Financial Advisor for the Debtors [Doc 277]; November 4,
                               2014 (for Harlan County Mining, LLC, Oak Hill Coal, Inc.,
                               Sandlick Coal Company, LLC, and U.S. Coal Marketing,
                               LLC) per Order Authorizing Additional Debtors to Employ
                               GlassRatner Advisory & Capital Group as Financial
                               Advisors [Doc 671]

TIME PERIOD:                   November 1, 2014 through and including November 30, 2014


CURRENT APPLICATION:           Total Fees Requested:                        $159,929.80

                               Fees Requested to be Paid (80%):             $127,943.84

                               Total Expenses Requested:                    $5,716.24

                               Expenses Requested to be Paid (100%):        $5,716.24
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       1.      In accordance with the Order under 11 U.S.C. §§ 105 and 331 Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals, entered

on August 3, 2014 [Doc 337] (the “Interim Compensation Order”), GlassRatner Advisory &

Capital Group, LLC (the “Firm”), Financial Advisors for the Debtors and Debtors in Possession

in the above-captioned bankruptcy cases, hereby submits this Monthly Fee Statement for

Professional Services and Disbursements (the “Fee Statement”) for the period of November 1,

2014 through and including November 30, 2014 (the “Fee Statement Period”).

       2.      Attached hereto as Exhibit A is a summary of the services rendered and

compensation sought by the Firm by project category for the Fee Statement Period.

       3.      Attached hereto as Exhibit B is a billing summary of the Firm’s professionals and

paraprofessionals by individual, setting forth the: (i) name and title of each individual who

performed services during the Fee Statement Period, (ii) aggregate time expended by each such

individual, (iii) hourly billing rate for each such individual at the Firm’s current billing rates, and

(iv) the amount of fees earned by each professional and paraprofessional during the Fee

Statement Period.

       4.      Attached hereto as Exhibit C is a summary of expenses sought by type for all

expenses incurred or advanced by the Firm during the Fee Statement Period in connection with

the performance of professional services.

       5.      Attached hereto as Exhibit D are itemized time and expense records of the Firm’s

professionals and paraprofessionals as may be redacted for privilege, confidentiality, or other

business justification.
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                 Total Fees and Expenses Sought for the Fee Statement Period

       6.      The total amounts sought for fees for services rendered and reimbursement of

expenses incurred by the Firm for the Fee Statement Period are as follows:

                     Total Fees:                                                      $ 159,929.80

                  Total Expenses:                                                    $     5,716.24

                                          TOTAL                                      $   165,646.04

       7.      Pursuant to the Interim Compensation Order, the Firm seeks payment of

$133,660.08 representing (a) 80% of the firm’s fees for services rendered and (b) 100% of the

actual and necessary expenses incurred on behalf of the Debtors during the Fee Statement Period.

                                Notice and Objection Procedures

       8.      No trustee or examiner has been appointed in these Chapter 11 cases. Pursuant to

the Interim Compensation Order, notice of this Fee Statement has been served upon (collectively,

the “Notice Parties”): (i) the Debtors; (ii) Counsel for the Debtors; (iii) Counsel for the Official

Committee of Unsecured Creditors; (iv) Counsel for the Debtors’ secured creditors; and (v) the

Office of the U.S. Trustee for the Eastern District of Kentucky, attention Rachelle C. Dodson,

Esq.

       9.      Pursuant to the Interim Compensation Order, objections to this Fee Statement, if

any, must be served upon the Notice Parties, including the Firm, no later than January 19, 2015

(the “Review Deadline”), setting forth: (i) the nature of the objection, and (ii) the specific dollar

amount of fess and/or expenses to which the objection pertains.

       10.     If no objections to the Fee Statement are received on or before the Review

Deadline, the Debtors will pay the Firm: (i) 80% of the fees identified in the Fee Statement, and

(ii) 100% of the expenses identified in the Fee Statement.
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       11.     To the extent an objection to the Fee Statement is received on or before the

Review Deadline, the Debtors will withhold payment of, with respect to fees, the greater of

(a) the 20% holdback, or (b) the amount of fees to which the objection pertains, and with respect

to expenses, the amount to which the objection is directed, and will promptly pay the remainder

of the fees and expenses as set forth above. To the extent such objection is not resolved, the

Firm may request that the Court resolve the objection at the next or any subsequent fee

application hearing.

Dated: December 30, 2014                            Prepared by:

                                                    GlassRatner Advisory & Capital Group, LLC

                                                    /s/ Evan Blum
                                                    Evan Blum
                                                    GlassRatner Advisory & Capital Group, LLC
                                                    One Grand Central Place
                                                    60 East 42nd St., Suite 1026
                                                    New York, NY 10165
                                                    Telephone: (212) 922-2108
                                                    eblum@glassratner.com
                                                    FINANCIAL ADVISOR FOR DEBTORS
                                                    AND DEBTORS IN POSSESSION


                                                    Respectfully submitted,

                                                    DELCOTTO LAW GROUP PLLC

                                                    /s/ Amelia Martin Adams, Esq.
                                                    KY Bar No. 93038
                                                    Laura Day DelCotto, Esq.
                                                    KY Bar No. 81763
                                                    200 North Upper Street
                                                    Lexington, KY 40507
                                                    Telephone: (859) 231-5800
                                                    Facsimile: (859) 281-1179
                                                    aadams@dlgfirm.com
                                                    ldelcotto@dlgfirm.com
                                                    COUNSEL FOR DEBTORS AND
                                                    DEBTORS IN POSSESSION
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                                    EXHIBIT A
Task
                                  Description                                      Amount
Code
  B1   ASSET ANALYSIS AND RECOVERY: Identification and review                  $        -
       of potential assets including causes of action and non-litigation
       recoveries.
  B2   ASSET DISPOSITION: Sales, leases (11 U.S.C. § 365 matters),             $        -
       abandonment and related transaction work related to asset
       disposition.
  B3   ASSUMPTION AND REJECTION OF LEASES AND                                  $   4,155.00
       CONTRACTS: Analysis of leases and executory contracts and
       preparation of motions specifically to assume or reject.
  B4   AVOIDANCE ACTION ANALYSIS: Review of potential                          $        -
       avoiding actions under 11 U.S.C. §§ 544 - 549 to determine whether
       adversary proceedings are warranted.

  B5   BUDGETING (CASE): Preparation, negotiation, and amendment               $        -
       to budgets for applicant

  B6   BUSINESS OPERATIONS: Issues related to debtor-in-possession             $   3,862.50
       operating in chapter 11 such as employee, vendor, tenant issues and
       other similar problems.

  B7   CASE ADMINISTRATION: Coordination and compliance                        $   4,115.00
       activities not specifically covered by another category.

  B8   CLAIMS ADMINISTRATION AND OBJECTIONS: Specific                          $    472.50
       claim inquiries; bar date motions; analyses, objections and
       allowances of claims.

  B9   CORPORATE GOVERNANCE AND BOARD MATTERS:                                 $        -
       Preparation for and attendance at Board of Directors meetings;
       analysis and advice regarding corporate governance issues,
       including trustee, examiner, and CRO issues; review and preparation
       of corporate documents (e.g., articles and bylaws, etc.).

 B10   EMPLOYEE BENEFITS AND PENSIONS: Review and                              $        -
       preparation related to employee and retiree benefit issues, including
       compensation, bonuses, severance, insurance benefits, and 401K,
       pensions, or other retirement plans.


 B11   EMPLOYMENT AND FEE APPLICATIONS: Preparation of                         $   4,207.50
       employment and fee applications for self or others; motions to
       establish interim procedures.
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 B12     EMPLOYMENT AND FEE APPLICATION OBJECTIONS:                                        $          -
         Review of and objections to the employment and fee applications of
         others.
 B13     FINANCING AND CASH COLLATERAL: Matters under 11                                   $ 25,452.50
         U.S.C. §§ 361, 363, and 364 including cash collateral and secured
         claims; loan document analysis.

 B14     LITIGATION: Contested Matters and Adversary Proceedings (not                      $          -
         otherwise within a specific project category), each identified
         separately by caption and adversary number, or title of motion or
         application and docket number, and using the Uniform Task Based
         Management System (“UTBMS”) Litigation Task Code Set.

 B15     MEETINGS AND COMMUNICATIONS WITH CREDITORS:                                       $    3,345.00
         Preparation for and attendance at 11 U.S.C. § 341(a) meeting and
         any other meetings with creditors and creditors’ committees. Also
         includes establishment of data room in response to Committee
         requests as well as preparation of material for the Committee.

 B16     NON-WORKING TRAVEL: Non-working travel where the court                            $          -
         reimburses at less than full hourly rates.
 B17     PLAN AND DISCLOSURE STATEMENT: Formulation,                                       $ 88,824.80
         presentation and confirmation; compliance with the plan
         confirmation order, related orders and rules; disbursement and case
         closing activities, except those related to the allowance and
         objections to allowance of claims. Also includes preparation of
         projections which ultimately would be incorporated in the Plan.
 B18     REAL ESTATE: Review and analysis of real estate-related matters,                  $          -
         including purchase agreements and lease provisions (e.g., common
         area maintenance clauses).
 B19     RELIEF FROM STAY AND ADEQUATE PROTECTION: Matters                                 $      105.00
         relating to termination or continuation of automatic stay under 11
         U.S.C. § 362 and motions for adequate protection under 11 U.S.C. §
         361.
 B20     REPORTING: Statement of financial affairs, schedules, monthly                     $    6,767.50
         operating reports, and any other accounting or reporting activities;
         contacts with the U.S. Trustee not included in other categories.
 B21     TAX: Analysis of tax issues and preparation of federal and state tax              $      172.50
         returns.
 B22     VALUATION: Appraise or review appraisals of assets.                               $ 17,107.50
 B23     FINANCIAL ANALYSIS/CAPITAL STRUCTURE: Analysis of                                 $ 1,342.50
 [1]     capital structure issues including: ownership of various entities and
         lien positions. Also includes intercompany analysis.


[1] – This category was added by GlassRatner in addition to the categories used for local practice.
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                                  EXHIBIT B
                                       Aggregate
                                                     Hourly     Amount of Fees
              Name and Title             Time
                                                   Billing Rate   Earned
                                       Expended

           Evan Blum, Principal          94.6       $525.00     $   49,665.00

       Sean Allen, CFA, CPA, CIRA,
                                         130.7      $375.00     $   49,012.30
                  Director

       Marshall Glade, CPA, Director      5         $375.00     $    1,875.00


         Marc Levee, Vice President      127.8      $325.00     $   41,535.00

        David Neyhart, CPA, Senior
                                         79.3       $225.00     $   17,842.50
                Associate
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                                 EXHIBIT C
                          Expense Category            Amount
                      Copies                        $        -
                      Outside Printing              $        -
                      Telephone                     $        -
                      Facsimile                     $        -
                      Online Research               $        -
                      Delivery Service/Couriers     $        -
                      Postage                       $        -
                      Local Travel                  $ 1,056.06
                      Out-of-Town Travel            $        -
                              (a) Transportation    $ 3,531.10
                              (b) Hotel             $ 512.67
                              (c) Meals             $ 193.95
                              (d) Ground            $ 361.56
                              Transportation
                              (e) Other (specify)   $        -
                      Meals (local)                 $    60.90
                      Court Fees                    $        -
                      Subpoena Fees                 $        -
                      Witness Fees                  $        -
                      Deposition Transcripts        $        -
                      Trial Transcripts             $        -
                      Trial Exhibits                $        -
                      Litigation Support            $        -
                      Vendors
                      Experts                       $       -
                      Investigators                 $       -
                      Arbitrators/Mediators         $       -
                      Other (specify)               $       -
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                                EXHIBIT D
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                                                             Time Detail for November Fee Statement
                                           Time Entry                                               Billable Hours           Billable Amount
                       Assumption/Rejection of Leases and Contracts                                              11.8    $                     4,155.00
     11/3/2014                                                                                                     0.1   $                        52.50
    Evan Blum                                                                                                      0.1   $                        52.50
Call with CD re Kolmar contracts and go forward approach                                                           0.1   $                        52.50
     11/4/2014                                                                                                     0.1   $                        52.50
    Evan Blum                                                                                                      0.1   $                        52.50
Review emails related to Kolmar acceptance of coal; other contractual relationships                                0.1   $                        52.50
     11/7/2014                                                                                                     0.2   $                       105.00
    Evan Blum                                                                                                      0.2   $                       105.00
Call with CD re Kolmar contracts and need to focus on potential rejection                                          0.2   $                       105.00
     11/12/2014                                                                                                    3.3   $                     1,102.50
    David Neyhart, CPA                                                                                               2   $                       450.00
Call with EB and SA to discuss breakout of royalty amounts.                                                        0.2   $                        45.00
Prepare detailed analysis of specific royalty holders and their various claim amounts.                             1.8   $                       405.00
    Evan Blum                                                                                                      1.1   $                       577.50
Call with CD to discuss Kolmar fuel contract and Kolmar relationship re acceptance -
rejection of contracts (.2); post group call follow with S Allen re LRR fuel contract to
continue (.3); follow with MW re same (.2)                                                                         0.7   $                      367.50
Call with JC to discuss key conversations around rejection - renegotiation of leases; GR to
follow with spreadsheet of key parties to be addressed                                                             0.4   $                       210.00
    Sean Allen, CFA, CPA, CIRA                                                                                     0.2   $                        75.00
Call with EB and DN to discuss breakout of royalty amounts                                                         0.2   $                        75.00
     11/14/2014                                                                                                    5.1   $                     1,417.50
    David Neyhart, CPA                                                                                             4.2   $                       945.00
Meeting with EB to discuss top LRR royalty holders claim amounts.                                                  0.3   $                        67.50
Update analysis for top LRR lease holders including calculating any potential cure claim,
any post petition payments made and detailing terms of lease agreement.                                            3.9   $                      877.50
    Evan Blum                                                                                                      0.9   $                      472.50
Reviewed with D Neyhart the GR memo on key leases at LRR to be addressed by JC; review
and mark with comments multiple iterations of memo describing all claims / relationships
with these key lessors. Provide memo to JC, MW and EG                                                              0.9   $                      472.50
     11/20/2014                                                                                                    0.5   $                      112.50
    David Neyhart, CPA                                                                                             0.5   $                      112.50
Status call with Company and counsel to discuss assumption/rejection of leases.                                    0.5   $                      112.50
     11/24/2014                                                                                                    1.2   $                      630.00
    Evan Blum                                                                                                      1.2   $                      630.00
Analysis of Kolmar and other fuel costs at LRR and JAD - review and compose emails                                 0.2   $                      105.00
Call with counsel re Kolmar matters; Sequoia settlement - lack of adherence                                        0.7   $                      367.50
Follow counsel call with MW call on Kolmar & Sequoia                                                               0.3   $                      157.50
     11/25/2014                                                                                                    0.1   $                       52.50
    Evan Blum                                                                                                      0.1   $                       52.50
Review JC email correspondence re Kolmar contracts after discussion with Kolmar
management                                                                                                         0.1   $                       52.50
     11/26/2014                                                                                                    0.9   $                      472.50
    Evan Blum                                                                                                      0.9   $                      472.50
Review multiple emails and participate in multiple calls related to potential resolution of
Kolmar contract issues JC, and Nixon                                                                               0.9   $                      472.50
     11/30/2014                                                                                                    0.3   $                      157.50
    Evan Blum                                                                                                      0.3   $                      157.50
Review Motion requesting authority to assume leases and requesting approval of cure claim
payments; email to AA re any company schedules                                                                     0.3   $                       157.50
                                      Business Operations                                                          7.7   $                     3,862.50
     11/3/2014                                                                                                     0.1   $                        52.50
    Evan Blum                                                                                                      0.1   $                        52.50
Review September operating financial statements                                                                    0.1   $                        52.50
     11/4/2014                                                                                                     0.3   $                       157.50
    Evan Blum                                                                                                      0.3   $                       157.50
Review extensive internal emails on bonding and surety payments on new bonds                                       0.2   $                       105.00
Review Motion to Continue Surety Bond Program                                                                      0.1   $                        52.50
     11/7/2014                                                                                                     0.7   $                       367.50
    Evan Blum                                                                                                      0.7   $                       367.50
Call with company and counsel re US Bank action on Letters of Credit; how to respond to
relief from stay request; alternative structures to Letters of Credit re putting restricted cash at
Lexon                                                                                                              0.5   $                      262.50
Review emails re US Bank desire for stay relief re US Bank non renewal of Letters of Credit
in preparation for call re same                                                                                    0.2   $                      105.00
     11/9/2014                                                                                                     0.1   $                       52.50
    Evan Blum                                                                                                      0.1   $                       52.50
Review follow up emails with company and counsel re moving collateral account funds to
Lexon and cancelling Letters of Credit; committee reaction; company to follow                                      0.1   $                       52.50
     11/12/2014                                                                                                    0.3   $                      157.50
    Evan Blum                                                                                                      0.3   $                      157.50
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                                                          Time Detail for November Fee Statement
                                          Time Entry                                           Billable Hours           Billable Amount
Call with MW re cash flow situation at LRR, steps to take to address timing of inflows                        0.3   $                      157.50
     11/18/2014                                                                                               0.2   $                       75.00
   Sean Allen, CFA, CPA, CIRA                                                                                 0.2   $                       75.00
Discuss surety bonds with M. Windisch                                                                         0.2   $                       75.00
     11/21/2014                                                                                               0.5   $                      262.50
   Evan Blum                                                                                                  0.5   $                      262.50
Discuss Kolmar fuel sale offer at JAD with JC (.2); CD (.1); SA (.2) - call set up to discuss
Monday                                                                                                        0.5   $                       262.50
     11/24/2014                                                                                               4.5   $                     2,212.50
   Evan Blum                                                                                                  3.5   $                     1,837.50
Call with JC re potential changes to business operations in order to improve operating results
(.3); follow with SA and MW re potential operating changes (.3)                                               0.6   $                      315.00
Call with MW re details around moving HWM to LRR (.4); follow call including D Drebsky
to discuss issue (.4)                                                                                         0.8   $                      420.00
Call with SA, MW and JC to discuss all alternatives re increasing cash flow - royalty issues
by key lessor; fuel and other key vendors and pricing; personnel; HWM operations; excess
equipment; progress on insurance, employee cuts                                                                 1   $                      525.00
Discuss operational alternatives internally to improve cash flow; discuss margins; impact on
margins of various alternatives                                                                               0.8   $                      420.00
Discuss Sequoia lack of compliance with JC and counsel re settlement agreement approved
by Court; counsel to draft motion                                                                             0.2   $                       105.00
Email correspondence with counsel re any update on Dyno contract matter                                       0.1   $                        52.50
   Sean Allen, CFA, CPA, CIRA                                                                                   1   $                       375.00
Discuss operations at LRR with Management and E. Blum                                                           1   $                       375.00
     11/25/2014                                                                                                 1   $                       525.00
   Evan Blum                                                                                                    1   $                       525.00
Call with D Drebsky re operational issues facing company; alternatives                                        0.3   $                       157.50
Call with JC re operational issues facing company and alternatives                                            0.2   $                       105.00
Discuss business strategy with counsel and management re go forward alternatives                              0.5   $                       262.50
                                     Case Administration                                                      9.6   $                     4,115.00
     11/2/2014                                                                                                0.7   $                       367.50
   Evan Blum                                                                                                  0.7   $                       367.50
Review Debtors motion for continued use of cash management system (.2) and Debtors
motion for continued use of surety bond program (.2)                                                          0.4   $                      210.00

Review JC declaration for new debtors first days (.2); provide comments to L Harrington(.1)                  0.3    $                      157.50
     11/3/2014                                                                                               0.6    $                      255.00
   David Neyhart, CPA                                                                                        0.2    $                       45.00
Review docket for 10/30 and 10/31.                                                                           0.2    $                       45.00
   Evan Blum                                                                                                 0.4    $                      210.00
Call with JC re various on going maters - REDACTED projections; REDACTED term sheet;
appraisal liquidation value; appraisal on going concern; GR reports re same                                  0.4    $                      210.00
     11/4/2014                                                                                               1.9    $                      702.50
   David Neyhart, CPA                                                                                        0.4    $                       90.00
Review EB affidavit for first day motions for 4 newly filed entities.                                        0.4    $                       90.00
   Evan Blum                                                                                                 0.5    $                      262.50
Internal GR meeting re valuation memo status; term sheet status; projection status                           0.5    $                      262.50
   Marc Levee                                                                                                0.5    $                      162.50
Internal GR team meeting to discuss long term projections and valuation                                      0.5    $                      162.50
   Sean Allen, CFA, CPA, CIRA                                                                                0.5    $                      187.50
Discuss valuation, status of term sheet, third party financing discussions with E. Blum, and
M. Levee                                                                                                     0.5 $                         187.50
     11/5/2014                                                                                               0.4 $                         210.00
   Evan Blum                                                                                                 0.4 $                         210.00
Call with JC to update on Goggin meeting, REDACTED discussions, status of alternative
scenarios                                                                                                    0.4    $                      210.00
     11/10/2014                                                                                              0.3    $                       67.50
   David Neyhart, CPA                                                                                        0.3    $                       67.50
Review docket for 11/5 and 11/6.                                                                             0.3    $                       67.50
     11/11/2014                                                                                              0.7    $                      262.50
   Sean Allen, CFA, CPA, CIRA                                                                                0.7    $                      262.50
Correspondence with Nixon Peabody and discussions with Management re: holdbacks for
professionals                                                                                                0.4    $                      150.00
Discuss 20% holdback for professional fees with E. Gabbert                                                   0.3    $                      112.50
     11/15/2014                                                                                              0.5    $                      262.50
   Evan Blum                                                                                                 0.5    $                      262.50
Call with MW to update re various case matters - DIP; exit financing; etc                                    0.5    $                      262.50
     11/16/2014                                                                                              0.3    $                      157.50
   Evan Blum                                                                                                 0.3    $                      157.50
Call with JC re current case issues                                                                          0.3    $                      157.50
     11/19/2014                                                                                              0.4    $                       90.00
   David Neyhart, CPA                                                                                        0.4    $                       90.00
Review docket for 11/14-11/19.                                                                               0.4    $                       90.00
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                                         Time Entry                                         Billable Hours             Billable Amount
     11/24/2014                                                                                          0.9       $                        337.50
   Sean Allen, CFA, CPA, CIRA                                                                            0.9       $                        337.50
Status call with Nixon Peabody                                                                           0.9       $                        337.50
     11/25/2014                                                                                          0.4       $                         90.00
   David Neyhart, CPA                                                                                    0.4       $                         90.00
Review docket for 11/19-11/25.                                                                           0.4       $                         90.00
     11/27/2014                                                                                          0.2       $                        105.00
   Evan Blum                                                                                             0.2       $                        105.00
Review November ind memo from Lazard                                                                     0.2       $                        105.00
     11/29/2014                                                                                          2.3       $                      1,207.50
   Evan Blum                                                                                             2.3       $                      1,207.50
Review J Dean deposition                                                                                 0.5       $                        262.50
Review J McAfee deposition                                                                               1.8       $                        945.00
                        Cash Collateral and Post Petition Financing                                     56.5       $                     25,452.50
     11/3/2014                                                                                           1.7       $                        892.50
   Evan Blum                                                                                             1.7       $                        892.50
Call with Renasant re DIP opportunity - declined (.2); call with Porter terms on DIP facility
(.3); call with D Drebsky to summarize and get reaction (.1); call with MW to discuss
reactions of potential DIP providers and next steps (.2)                                                     0.8 $                         420.00
Mark up Nixon term sheet for exit financing provider with changes based on conversations
with parties and send to CD for updating                                                                     0.4   $                       210.00
Review Porter Capital DIP term sheet                                                                         0.2   $                       105.00
Call with MW re term sheet for REDACTED post petition financing                                              0.3   $                       157.50
     11/4/2014                                                                                               1.7   $                       892.50
   Evan Blum                                                                                                 1.7   $                       892.50
Review R Langan additions to term sheet re post petition financing                                           0.2   $                       105.00

Call with MW and JC re REDACTED term sheet - review by section - and projection status                        1 $                          525.00
Review term sheet for REDACTED with R Langan (.3); review changes with CD (.2); send
to REDACTED                                                                                                  0.5   $                       262.50
     11/5/2014                                                                                                 1   $                       525.00
   Evan Blum                                                                                                   1   $                       525.00
Call with REDACTED to discuss their exit financing term sheet                                                0.6   $                       315.00
Call with REDACTED to update them on Goggin meeting; discuss terms of exit financing
further                                                                                                      0.4 $                         210.00
     11/6/2014                                                                                               0.8 $                         420.00
   Evan Blum                                                                                                 0.8 $                         420.00
Call with JC re schedule for alternative provider of post petition financing re mine visit and
meetings                                                                                                     0.3 $                         157.50
Call with R Langan to review need to update REDACTED term sheet; review updated
provisions                                                                                                   0.5 $                          262.50
     11/7/2014                                                                                               2.8 $                        1,470.00
   Evan Blum                                                                                                 2.8 $                        1,470.00
Call with MW about JAD DIP alternatives - need to go back to Porter (.3); call with Porter re
JAD DIP and need to reduce pricing (.3); follow call with Porter regarding their revised
terms (.2); review updated Porter term sheet and distribute internally (.2); email exchange re
Commercial Bank terms - legal fees proposed to be paid (.2); review emails re timing of DIP
hearing (.1)                                                                                                 1.3 $                         682.50
Call with Nixon and JC re coal off take and marketing agreement as part of post petition
financing                                                                                                    0.5 $                         262.50
Email exchange with Marquette re JAD DIP financing                                                           0.2 $                         105.00
Review term sheet for JAD DIP from Franklin - passing security on all assets; PGs                            0.2 $                         105.00
Call with company and Nixon re REDACTED coal marketing term sheet - review terms re
company response - to be negotiated in conjunction with exit financing term sheet                            0.6 $                         315.00
     11/8/2014                                                                                               0.7 $                         367.50
   Evan Blum                                                                                                 0.7 $                         367.50
Review updated DIP term sheet from Porter (.2); review updated DIP term sheet from
Franklin (.2); email exchanges with MW and Nixon re issues to examine alternatives and
questions re various terms and follow to bring each proposal to conclusion for MW (.3)                       0.7 $                          367.50
     11/10/2014                                                                                              9.6 $                        5,040.00
   Evan Blum                                                                                                 9.6 $                        5,040.00
Multiple calls with MW and Nixon re Porter and Franklin terms sheets to provide DIP
financing; address remaining issues in each ; finalize best deal from each party; address
Commercial status; counsel providing final term sheets to committee                                          1.3 $                         682.50
Meetings in Lexington with multiple parties interested in buying all or some of company's
assets; review company background and BK status, discuss capital structure, answer
questions, agree on next steps. Review with JC these potential buyers and models /
information needed to provide. (6.5) Also, discuss outstanding questions with company
related to REDACTED coal marketing agreement in order to respond to REDACTED terms
(.5); review current draft of REDACTED term sheet (.6); emails with RL and DD re terms in
current draft to be modified (.3); call with R Langan re updating REDACTED term sheet in
order to send revised draft to REDACTED (.4)                                                                 8.3 $                        4,357.50
     11/11/2014                                                                                              0.9 $                          472.50
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    Evan Blum                                                                                                0.9 $                        472.50
Follow up on meeting 11/10 meeting in Lexington with note to NAME REDACTED                                   0.1 $                         52.50
Review further updated REDACTED exit financing term sheet provided by R Langan(.2);
email exit financing term sheet with cover to REDACTED (.1); review REDACTED coal
marketing term sheet and mark up provided by JC (.2); compose email to REDACTED re
coal marketing term sheet and attach company changes (.2); email to D Drebsky re
REDACTED term sheet status (.1)                                                                              0.8 $                        420.00
     11/12/2014                                                                                              1.4 $                        735.00
    Evan Blum                                                                                                1.4 $                        735.00
Compose response to REDACTED's coal marketing proposal as part of overall post petition
financing in conjunction with JC                                                                             0.3 $                        157.50
Call with JC to discuss status of post petition alternatives; need to advance REDACTED and
REDACTED discussions;                                                                                        0.4 $                        210.00
Call with JC, SA and ML re information needed for REDACTED in order to move along
post petition financing possibility                                                                          0.4 $                        210.00
Call with S Blevins re diligence needed for REDACTED in order to get post petition term
sheet                                                                                                        0.3 $                        157.50
     11/13/2014                                                                                              1.4 $                        735.00
    Evan Blum                                                                                                1.4 $                        735.00
Pre REDACTED exit financing call with JC (.3); call with REDACTED re exit financing
terms with JC and MW(.7); follow call to update with D Drebsky (.2); follow call re
REDACTED terms with MW (.2)                                                                                  1.4   $                      735.00
     11/14/2014                                                                                              2.7   $                      967.50
    David Neyhart, CPA                                                                                       1.5   $                      337.50
Consolidate and distribute documents provided for potential investor.                                        1.5   $                      337.50
    Evan Blum                                                                                                1.2   $                      630.00
Review with D Neyhart status of REDACTED interest in post petition financing; review
diligence questions and status of responses; Neyhart to organize. Reviewed and provided
certain diligence responses to REDACTED.                                                                     1.2 $                        630.00
     11/15/2014                                                                                              1.4 $                        660.00
    Evan Blum                                                                                                0.9 $                        472.50
Call with S Allen to review REDACTED questions on company long term model re exit
financing                                                                                                    0.5 $                        262.50
Call with MW re responses to certain REDACTED questions related to a potential exit
financing                                                                                                    0.4 $                        210.00
    Sean Allen, CFA, CPA, CIRA                                                                               0.5 $                        187.50
Call with EB to review REDACTED questions on company long term model re exit
financing                                                                                                    0.5   $                       187.50
     11/17/2014                                                                                              6.1   $                     2,407.50
    David Neyhart, CPA                                                                                       1.2   $                       270.00
Review and categorize additional documents provided for distribution to potential investor                   1.2   $                       270.00
    Evan Blum                                                                                                  2   $                     1,050.00
Meet with Nixon to discuss REDACTED exit financing - updated projections; Sources/uses;
term sheet status; potential plan structure                                                                    2   $                     1,050.00
    Sean Allen, CFA, CPA, CIRA                                                                               2.9   $                     1,087.50
Meet with Nixon Peabody and discuss projections and exit financing                                           2.9   $                     1,087.50
     11/18/2014                                                                                              1.2   $                       630.00
    Evan Blum                                                                                                1.2   $                       630.00
Review final version of GR memo summarizing updated projections to REDACTED - mark
with changes - call with M Levee to finalize and have distributed                                            1.2 $                        630.00
     11/19/2014                                                                                              2.2 $                        955.00
    Evan Blum                                                                                                1.2 $                        630.00
Respond to detailed questions from REDACTED in regard to potential exit financing;
review responses from REDACTED to our answers; internal emails to prepare responses to
REDACTED follow up questions                                                                                 1.2   $                      630.00
    Marc Levee                                                                                                 1   $                      325.00
Further work on answer to potential third party financing partner's diligence questions                      0.4   $                      130.00
Respond to potential third party financing partner's diligence request                                       0.6   $                      195.00
     11/20/2014                                                                                              1.6   $                      380.00
    David Neyhart, CPA                                                                                       1.4   $                      315.00
Call with BM to discuss asset listing as requested by potential investor.                                    0.2   $                       45.00
Review additional documents provided as part of potential investor request, and prepare for
distribution.                                                                                                1.2 $                        270.00
    Marc Levee                                                                                               0.2 $                         65.00
Discuss updates and outstanding items with regards to third party financing partner with E.
Blum                                                                                                         0.2   $                        65.00
     11/21/2014                                                                                              7.5   $                     2,987.50
    Evan Blum                                                                                                2.5   $                     1,312.50
Call with JC re alternative post petition financing sources; EB to follow                                    0.3   $                       157.50
Calls with multiple P/E Funds re providing exit financing; review current status; follow with
NDAs                                                                                                         0.8 $                        420.00
Met with CEO of potential exit financing source                                                              0.5 $                        262.50
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Review and send responses to REDACTED related to questions on cost changes in 2014-
2016 related to HWM                                                                                            0.4   $                      210.00
Review updated GR presentation and model to REDACTED based on updated pricing
figures for certain coal shipped by rail                                                                       0.5   $                       262.50
   Marc Levee                                                                                                    4   $                     1,300.00
Respond to prospective third party financing partner's question re: cost assumptions                           3.3   $                     1,072.50
Review answers to prospective third party financing partner's questions with E. Bum; follow
up discussion with S. Allen re the same                                                                        0.7   $                      227.50
   Sean Allen, CFA, CPA, CIRA                                                                                    1   $                      375.00
Respond to questions from potential source of exit financing (LRR)                                               1   $                      375.00
     11/22/2014                                                                                                1.5   $                      712.50
   Evan Blum                                                                                                     1   $                      525.00
Call with D Drebsky re post petition financing scenarios; potential interested parties; discuss
treatment of HWM in GR memo to raise financing                                                                 0.5   $                      262.50
Call with S Allen re updating GR memo for post petition financing to incorporate more cost
reduction data; discuss HWM impact in 2015 at LRR in model                                                     0.5   $                      262.50
   Sean Allen, CFA, CPA, CIRA                                                                                  0.5   $                      187.50
Call with E Blum re updating GR memo for post petition financing to incorporate more cost
reduction data; discuss HWM impact in 2015 at LRR in model                                                     0.5   $                      187.50
     11/23/2014                                                                                                1.6   $                      840.00
   Evan Blum                                                                                                   1.6   $                      840.00
Review and mark with changes updated GR post petition financing memo (.6); email
exchanges with GR internal group re certain questions need to resolve for memo (.2); call
with S Allen to review updated GR memo (.4); email exchange with D Drebsky re review of
memo for counsel sign off (.1); distribute memo and model to various parties interested in
post petition transaction with LRR (.3)                                                                        1.6   $                       840.00
     11/24/2014                                                                                                4.3   $                     1,552.50
   David Neyhart, CPA                                                                                          1.6   $                       360.00

Meeting with EB to discuss DIP financing and document requests from potential investors.                      0.1    $                       22.50
Prepare document requests for potential purchaser.                                                            0.6    $                      135.00
Prepare mine by mine memo for potential investor.                                                             0.9    $                      202.50
   Evan Blum                                                                                                  1.5    $                      787.50
Email correspondence with MW and counsel re finalizing JAD DIP documents and moving
ahead to get information to Porter to get a DIP at LRR                                                        0.2 $                         105.00
Send LRR numbers to Global Metals re LRR for potential exit financing                                         0.1 $                          52.50
Send out LRR information to REDACTED re potential post petition financing                                     0.1 $                          52.50
Call with REDACTED re term sheet status; potential comments on term sheet; discuss
additional requested information (.5); follow with CD re REDACTED call (.2)                                   0.7 $                         367.50
Send NDA to REDACTED re post petition financing                                                               0.1 $                          52.50
Review secured debt at LRR - GR analysis - and send to REDACTED at their request related
to post petition financing                                                                                    0.3    $                      157.50
   Marc Levee                                                                                                 0.9    $                      292.50
Respond to prospective third party financing partner's diligence request                                      0.9    $                      292.50
   Sean Allen, CFA, CPA, CIRA                                                                                 0.3    $                      112.50
Provide mine description to exit financing source (JAD)                                                       0.3    $                      112.50
     11/25/2014                                                                                               2.8    $                      970.00
   Evan Blum                                                                                                  0.3    $                      157.50
Review and finalize NDAs for potential providers of exit financing                                            0.2    $                      105.00
Review MW emails re Porter willingness to do LRR DIP facility                                                 0.1    $                       52.50
   Marc Levee                                                                                                 2.5    $                      812.50
Continue tow work on potential financing partner's diligence request                                          1.5    $                      487.50
Respond to potential third party financing partner's diligence request                                          1    $                      325.00
     11/27/2014                                                                                               1.1    $                      577.50
   Evan Blum                                                                                                  1.1    $                      577.50
Review Debtor Motion for DIP financing at LRR                                                                 0.6    $                      315.00
Review Porter factoring Agreement for JAD DIP facility                                                        0.5    $                      262.50
     11/30/2014                                                                                               0.5    $                      262.50
   Evan Blum                                                                                                  0.5    $                      262.50
Review information from SA requested by Porter Capital for LRR DIP (.2); email to MW re
sending along info and getting DIP term sheet at LRR (.1)                                                     0.3    $                      157.50
Respond to questions from REDACTED - potential source of exit financing                                       0.2    $                      105.00
                           Claims Administration and Objections                                               1.3    $                      472.50
     11/3/2014                                                                                                0.3    $                       67.50
   David Neyhart, CPA                                                                                         0.3    $                       67.50
Calls with BM to discuss updated secured creditor claim amounts.                                              0.3    $                       67.50
     11/10/2014                                                                                               0.4    $                      210.00
   Evan Blum                                                                                                  0.4    $                      210.00
Review M Levee GUC pool summary (.1); email exchange with counsel re same (.1); call
with CD to discuss (.2)                                                                                       0.4    $                      210.00
     11/17/2014                                                                                               0.4    $                       90.00
   David Neyhart, CPA                                                                                         0.4    $                       90.00
Research general unsecured claims for top LRR leaseholders.                                                   0.4    $                       90.00
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     11/30/2014                                                                                         0.2       $                       105.00
    Evan Blum                                                                                           0.2       $                       105.00
Review GR's JAD claims analysis and address internally                                                  0.2       $                       105.00
                                 Fee/Employment Applications                                           13.9       $                     4,207.50
     11/10/2014                                                                                         2.1       $                       472.50
    David Neyhart, CPA                                                                                  2.1       $                       472.50
Draft first interim fee application.                                                                    2.1       $                       472.50
     11/11/2014                                                                                         6.8       $                     1,950.00
    David Neyhart, CPA                                                                                  5.4       $                     1,215.00
Analysis of prior monthly fee statements and invoices for consolidation into interim fee
statement.                                                                                                  1.4   $                      315.00
Meeting with EB to discuss interim fee app and prepare updates accordingly.                                 0.4   $                       90.00
Preparation of first interim fee app, and discussions with counsel regarding the same.                      3.6   $                      810.00
    Evan Blum                                                                                               1.4   $                      735.00
Review initial draft of GR interim fee app and mark with changes with DN                                    0.7   $                      367.50
Review October bill and mark with changes                                                                   0.7   $                      367.50
     11/12/2014                                                                                             2.4   $                      840.00
    David Neyhart, CPA                                                                                      1.4   $                      315.00
Meetings with EB to discuss interim fee application.                                                        0.5   $                      112.50
Prepare updates to interim fee app and distribute to counsel.                                               0.9   $                      202.50
    Evan Blum                                                                                                 1   $                      525.00
Review updated interim fee app and mark with changes (.6); discuss changes with DN (.2):
review updated to be sent to counsel (.2)                                                                 1       $                       525.00
     11/13/2014                                                                                         0.3       $                        67.50
    David Neyhart, CPA                                                                                  0.3       $                        67.50
Review fee app, and coordinate signatures and approval for filing.                                      0.3       $                        67.50
     11/16/2014                                                                                         0.6       $                       315.00
    Evan Blum                                                                                           0.6       $                       315.00
Review updated GR bill for October                                                                      0.6       $                       315.00
     11/25/2014                                                                                         1.7       $                       562.50
    David Neyhart, CPA                                                                                  1.1       $                       247.50
Finalize October fee app                                                                                1.1       $                       247.50
Review October invoice for fee app.                                                                       0       $                          -
    Evan Blum                                                                                           0.6       $                       315.00
Finalize October bill                                                                                   0.6       $                       315.00
                             Financial Analysis/Capital Structure                                       4.5       $                     1,342.50
     11/20/2014                                                                                         0.7       $                       187.50
    David Neyhart, CPA                                                                                  0.6       $                       135.00
Call with EB to discuss LRR secured debt.                                                               0.1       $                        22.50
Reserach LRR secured debt and prepare summary chart.                                                    0.5       $                       112.50
    Evan Blum                                                                                           0.1       $                        52.50
Call with DN to discuss LRR secured debt                                                                0.1       $                        52.50
     11/24/2014                                                                                         3.6       $                     1,110.00
    David Neyhart, CPA                                                                                    2       $                       450.00
Discussions with EB and counsel regarding presentation of secured debt schedule.                        0.4       $                        90.00
Prepare JAD secured creditor memo                                                                       1.6       $                       360.00
    Evan Blum                                                                                           0.4       $                       210.00
Discussions with DN and counsel regarding presentation of secured debt schedule                         0.4       $                       210.00
    Sean Allen, CFA, CPA, CIRA                                                                          1.2       $                       450.00
Prepare capital structure summary memo for LRR                                                          1.2       $                       450.00
     11/26/2014                                                                                         0.2       $                        45.00
    David Neyhart, CPA                                                                                  0.2       $                        45.00
Finalize JAD secured creditor memo                                                                      0.2       $                        45.00
                                      Financial Reporting                                              24.3       $                     6,767.50
     11/3/2014                                                                                          0.6       $                       195.00
    Marc Levee                                                                                          0.6       $                       195.00
Begin to prepare SOFA for US Coal Marketing                                                             0.6       $                       195.00
     11/4/2014                                                                                          1.4       $                       365.00
    David Neyhart, CPA                                                                                  0.9       $                       202.50
Review information provided by company for schedules of assets and liabilities for 4 newly
filed entities.                                                                                             0.9 $                        202.50
    Marc Levee                                                                                              0.5 $                        162.50
Prepare portions of SOFA for Harlan County Mining, Oak Hill, Sandlick, and US Coal
Marketing                                                                                               0.5       $                       162.50
     11/5/2014                                                                                         15.8       $                     4,365.00
    David Neyhart, CPA                                                                                  7.7       $                     1,732.50
Prepare summary schedules of assets and liabilities for Harlan county mining filing.                    1.5       $                       337.50
Prepare summary schedules of assets and liabilities for Oak Hill filing.                                1.7       $                       382.50
Prepare summary schedules of assets and liabilities for Sandlick Mining filing.                         3.1       $                       697.50
Prepare summary schedules of assets and liabilities for US Coal Marketing mining filing.                0.7       $                       157.50
Review schedules of assets and liabilities for filing and update corresponding global notes.            0.7       $                       157.50
    Marc Levee                                                                                          8.1       $                     2,632.50
Discuss various questions related to the SOFAs with the Company                                         0.2       $                        65.00
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Further review global notes,SOFAs, and Schedules, and send for review                                     0.4   $                       130.00
Prepare SOFAs for Harlan County, Sandlick, and Oak Hill                                                   3.5   $                     1,137.50
Review drafts of SOFAs for all four entities                                                              1.2   $                       390.00
Update SOFAs and review; prepare global notes to support SOFAs and Schedules; prepare to
send to counsel and Company for review                                                                    2.3   $                      747.50
Work on SOFA for Sandlick                                                                                 0.5   $                      162.50
     11/6/2014                                                                                            2.9   $                      742.50
   David Neyhart, CPA                                                                                       2   $                      450.00
Prepare business income and expense forms to file with summary of schedules of assets and
liabilities.                                                                                              1.1   $                      247.50
review counsel comments for sofa/schedules.                                                               0.6   $                      135.00
Revise Sandlick schedules of assets and liabilities.                                                      0.3   $                       67.50
   Marc Levee                                                                                             0.9   $                      292.50
Updates SOFAs for Harlan County, Oak Hill, Sandlick, and US Coal Marketing per counsel
and Company comments                                                                                      0.9   $                      292.50
     11/7/2014                                                                                            2.8   $                      740.00
   David Neyhart, CPA                                                                                     2.1   $                      472.50
Review comments from counsel regarding schedules of assets and liabilities, and make
updates accordingly.                                                                                      2.1   $                      472.50
   Evan Blum                                                                                              0.2   $                      105.00
Review variance report filed for week of October 30; email exchange with MW re same                       0.2   $                      105.00
   Marc Levee                                                                                             0.5   $                      162.50

Final changes to global notes and SOFAs and prepare for submission for Company signature                  0.5 $                        162.50
     11/10/2014                                                                                           0.2 $                         45.00
   David Neyhart, CPA                                                                                     0.2 $                         45.00
Prepare export summary of data used for schedules of assets and liabilities for claims
administrator.                                                                                            0.2 $                         45.00
     11/12/2014                                                                                           0.4 $                        210.00
   Evan Blum                                                                                              0.4 $                        210.00
Call with DD re projected revenue and operating disbursement compliance week of 11/7
(.1); follow with EG re projected numbers (.2); follow with DD re same - provide expected
results (.1)                                                                                              0.4   $                       210.00
     11/21/2014                                                                                           0.2   $                       105.00
   Evan Blum                                                                                              0.2   $                       105.00
Review variance report week ended 11/14                                                                   0.2   $                       105.00
                     Meetings of and Communications with Creditors                                        6.6   $                     3,345.00
     11/3/2014                                                                                            1.7   $                       772.50
   Evan Blum                                                                                              0.9   $                       472.50
Call with co and Cred comm to review issues of concern to committee - JC review of
operations, respond to questions                                                                          0.4   $                      210.00
Pre call with cred committee among company GR and counsel re issues to address                            0.4   $                      210.00
Review updated production analysis in preparation for committee call                                      0.1   $                       52.50
   Sean Allen, CFA, CPA, CIRA                                                                             0.8   $                      300.00
Discuss Debtors' financial performance with Nixon Peabody, John Boyd, Foley Lardner,
Management, and Committee                                                                                 0.4   $                       150.00
Internal call with Management and Nixon Peabody in preparation for call with Committee                    0.4   $                       150.00
     11/5/2014                                                                                            2.4   $                     1,260.00
   Evan Blum                                                                                              2.4   $                     1,260.00
Meet with Goggin, ECM counsel and Nixon re case status; exit financing alternatives                       2.4   $                     1,260.00
     11/7/2014                                                                                            0.2   $                       105.00
   Evan Blum                                                                                              0.2   $                       105.00
Review and respond to emails from committee FA re production figures and request for call
on go forward mine plan                                                                                   0.2   $                      105.00
     11/9/2014                                                                                            0.2   $                      105.00
   Evan Blum                                                                                              0.2   $                      105.00
Exchange emails with EG re initial work on responses to committee re insider payments                     0.2   $                      105.00
     11/10/2014                                                                                           0.5   $                      262.50
   Evan Blum                                                                                              0.5   $                      262.50
Call with JC and Boyd to respond to questions on production and mining conditions                         0.5   $                      262.50
     11/11/2014                                                                                           0.7   $                      367.50
   Evan Blum                                                                                              0.7   $                      367.50
Compose email note with GR effective date analysis to ECM                                                 0.2   $                      105.00
Review EG information on interest and principal payments to certain individuals at request
of committee (.3); call with EG to discuss and disseminate to Debtor counsel (.2)                         0.5   $                      262.50
     11/17/2014                                                                                           0.4   $                      210.00
   Evan Blum                                                                                              0.4   $                      210.00
Call with JC and Boyd to respond to questions related to production levels                                0.4   $                      210.00
     11/24/2014                                                                                           0.4   $                      210.00
   Evan Blum                                                                                              0.4   $                      210.00
Call with committee to address issues as requested                                                        0.4   $                      210.00
     11/30/2014                                                                                           0.1   $                       52.50
   Evan Blum                                                                                              0.1   $                       52.50
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Respond to open questions from committee on actual versus budgeted results                               0.1   $                         52.50
                   Plan and Disclosure Statement (incl. Business Plan)                                243.4    $                     88,824.80
    11/1/2014                                                                                            5.2   $                      1,690.00
  Marc Levee                                                                                             5.2   $                      1,690.00
Continue projected mining forecast at LRR Division - production                                          1.8   $                        585.00
Continue to work on projected mining forecast at LRR Division - operating costs                          1.8   $                        585.00

Further work on operating costs assumptions for projected mining forecast at LRR Division                0.7   $                       227.50
Mining forecast at LRR Division from 2017 through 2022                                                   0.9   $                       292.50
    11/2/2014                                                                                            2.6   $                       845.00
   Marc Levee                                                                                            2.6   $                       845.00
Continue to work on operating costs and capital expenditures projections from 2017 through
2022 at the LRR Division                                                                                2.6 $                           845.00
    11/3/2014                                                                                          10.6 $                         3,480.00
   Marc Levee                                                                                           9.9 $                         3,217.50
Continue to work on long-term projections with S. Allen - surety bonds premium payment
and long-term payments                                                                                     0 $                            -
Continue to work on mining plan through 2022 at the LRR Division - below EBITDA line                     0.7 $                         227.50
Further updates and discussion with S. Allen regarding long-term financial projections -
production at surface and high wall miner                                                                2.5 $                         812.50
Further work on long-term projections at LRR Division - surety bonds and other operating
costs                                                                                                    2.5 $                         812.50

Prepare summary overview of long-term projections from 2017 to 2022 at the LRR Division                  1.8 $                         585.00

Review long-term projections for the LRR Division from 2017 through 2022 with S. Allen                  1.4    $                        455.00
Revise long-term projections at LRR Division - focus on production                                        1    $                        325.00
   Sean Allen, CFA, CPA, CIRA                                                                           0.7    $                        262.50
Review long term projections for third party investment with M. Levee                                   0.7    $                        262.50
Work on REDACTED model with M. Levee (Professional Development)                                           0    $                           -
     11/4/2014                                                                                         13.1    $                      4,772.50
   Evan Blum                                                                                            2.1    $                      1,102.50
Review and mark GR memo summarizing projections for REDACTED                                            0.5    $                        262.50
Review GR memo on projections for REDACTED with SA and ML - provide comments to
be addressed in updated version                                                                          0.4 $                         210.00
Call with S Blevins, J Collins and GR re REDACTED projections (.9); follow internally re
changes to model (.3)                                                                                    1.2 $                          630.00
   Marc Levee                                                                                            9.1 $                        2,957.50
Continue to review and update long-term projections at the LRR Division with S. Allen                    2.2 $                          715.00

Discuss long-term projections related to exit financing scenarios with S. Allen and E. Blum              0.3 $                          97.50
Follow up and review long-term projections at the LRR Division with E. Blum                              0.5 $                         162.50
Prepare for and participate in discussion of long-term projections with S. Allen, E. Blum,
and Management; follow up discussion internally re the same                                              1.9 $                         617.50
Revisions to long-term projection model for exit financing scenario, including discussions
with Management on production                                                                            3.4 $                        1,105.00
Updates to production schedule and surety bond payments for long-term projection model at
LRR Division                                                                                            0.8    $                        260.00
   Sean Allen, CFA, CPA, CIRA                                                                           1.9    $                        712.50
Discuss exit financing projections with E. Blum and M. Levee                                            0.3    $                        112.50
Discuss exit financing projections with Management                                                      0.8    $                        300.00
Discuss revisions to exit financing projections with E. Blum and M. Levee                               0.8    $                        300.00
Work on REDACTED model with M. Levee (Professional Development)                                           0    $                           -
    11/5/2014                                                                                          13.8    $                      5,410.00
   Evan Blum                                                                                            1.9    $                        997.50
Work with S Allen and M Levee on multiple iterations around projections requested by
REDACTED regarding exit financing proposal (1.5); call with JC, S Blevins and GR to
discuss and finalize (.4)                                                                                1.9 $                         997.50
   Marc Levee                                                                                              1 $                         325.00
Discuss long-term projection model at LRR Division with S. Allen and Management                          0.5 $                         162.50

Discussion with E. Blum and S. Allen regarding long-term projection model at LRR Division               0.5    $                        162.50
   Sean Allen, CFA, CPA, CIRA                                                                          10.9    $                      4,087.50
Discuss long term projections with M. Levee and E. Blum                                                   1    $                        375.00
Discuss projections and long term mining plans with Management                                          0.7    $                        262.50
Draft Exit Financing presentation of alternative scenario (including multiple conversations
with E. Blum)                                                                                            4.4   $                      1,650.00
Revise long term mining plan and projections per earlier call with Management                            2.2   $                        825.00
Summarize mining plan for upcoming call with Management                                                  0.5   $                        187.50
Update core operating model per recent Management discussions                                            2.1   $                        787.50
    11/6/2014                                                                                            7.3   $                      2,642.40
   Marc Levee                                                                                            1.9   $                        617.50
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Update long term-projection model for LRR Division with regards to mechanics of
production assumptions                                                                                      1.9   $                       617.50
   Sean Allen, CFA, CPA, CIRA                                                                               5.4   $                     2,024.90
Discuss Auger projections with E. Gabbert                                                                   0.3   $                       112.50
Prepare exit financing projections for distribution                                                           1   $                       375.00
Update core operating model per recent Management discussions                                               4.1   $                     1,537.40
     11/7/2014                                                                                                2   $                       650.00
   Marc Levee                                                                                                 2   $                       650.00
Continue to work on long-term model - production                                                              0   $                          -
Continue to work on long-term projections - production modeling                                             0.7   $                       227.50
Further work on financial modeling for production and revenue                                               1.3   $                       422.50
     11/10/2014                                                                                           12.7    $                     4,492.50
   Marc Levee                                                                                               5.4   $                     1,755.00
Discuss presentation with E. Blum and begin to work on presentation to potential financing
partner for the LRR Division                                                                                1.5   $                      487.50
Finalize surety bond payment forecast for long-term projection model                                        0.8   $                      260.00
Further work on forecasting surety bond payments for the long-term projection model at the
LRR Division                                                                                                0.8   $                      260.00
Review long term model draft with S. Allen                                                                  0.5   $                      162.50
Review long-term projection model with S. Allen - production, revenue, surety bonds                         0.5   $                      162.50
Review production, revenue, surety bond, and capex schedule for long-term projection
model                                                                                                       0.4   $                       130.00
Work on capital expenditure schedule for long-term projection model                                         0.9   $                       292.50
   Sean Allen, CFA, CPA, CIRA                                                                               7.3   $                     2,737.50
Review exit financing presentation with M. Levee                                                            0.5   $                       187.50
Review long term model draft with M. Levee                                                                  0.5   $                       187.50
Update core operating model for August and September results - JAD                                          4.2   $                     1,575.00
Update core operating model for consolidation work                                                          2.1   $                       787.50
     11/11/2014                                                                                           11.5    $                     4,147.50
   Marc Levee                                                                                               3.3   $                     1,072.50
Discuss and review long-term projections in conjunction with third party financing with S.
Allen                                                                                                         1   $                      325.00
Prepare summary overview presentation on LRR long-term projections through 2022                               1   $                      325.00
Updates to long-term projection model at LRR Division in conjunction with third party
financing                                                                                                   1.3   $                       422.50
   Sean Allen, CFA, CPA, CIRA                                                                               8.2   $                     3,075.00
Review long term projections in conjunction with third party capital raise                                    1   $                       375.00
Update consolidation - core JAD Model                                                                       2.9   $                     1,087.50
Update core operating model for consolidation worksheet - JAD                                               4.3   $                     1,612.50
     11/12/2014                                                                                           11.6    $                     4,250.00
   Evan Blum                                                                                                0.8   $                       420.00
Internal meetings with SA and ML re business plan projections - updating 2015/2016; LT
model adjustments; need to develop JAD.                                                                     0.8   $                       420.00
   Marc Levee                                                                                               4.4   $                     1,430.00
Discuss long-term projections with S. Allen and E. Blum; further discussions re the same
with S. Allen, E. Blum, and Company                                                                         1.2   $                      390.00
Further updates to long-term projection model and prepare for presentation of results                       1.8   $                      585.00
Prepare for and participate in discussion with S. Allen and Management re: long-term
projections assumptions related to prices and operating costs per ton                                       0.5   $                       162.50
Review long-term projection model for discussion purposes                                                     0   $                          -
Work on price and cost per ton scenario assumptions for long-term projection model                          0.9   $                       292.50
   Sean Allen, CFA, CPA, CIRA                                                                               6.4   $                     2,400.00
Discuss exit financing projections with M. Levee and E. Blum                                                1.2   $                       450.00
Update LRR core model update for August / September                                                         5.2   $                     1,950.00
     11/13/2014                                                                                             6.6   $                     2,440.00
   Marc Levee                                                                                               0.7   $                       227.50
Begin to compile presentation for long-term projection at LRR Division (2014 - 2022)                        0.7   $                       227.50
Discuss long-term projection model and deliverables with S. Allen                                             0   $                          -
   Sean Allen, CFA, CPA, CIRA                                                                               5.9   $                     2,212.50
Revise reclamation estimates                                                                                0.7   $                       262.50
Update Core LRR operating model - Coal Preparation Assumptions and results                                  2.8   $                     1,050.00
Update core operating model for royalties (JAD and LRR)                                                     1.8   $                       675.00
Update non producing mines in operating model (LRR)                                                         0.6   $                       225.00
Update revenue assumptions, mechanics and linkage between models                                              0   $                          -
     11/14/2014                                                                                           12.9    $                     4,617.50
   Marc Levee                                                                                               4.4   $                     1,430.00
Discuss long-term projection model with S. Allen and E. Blum re: changes made and related
presentation                                                                                                0.6   $                      195.00
Discuss updates to coal preparation and transportation costs with S. Allen                                  0.9   $                      292.50
Further review of long term projection model for the 2014 - 2016 period                                       1   $                      325.00
Reconcile and review long-term projections for LRR Division with S. Allen                                   1.9   $                      617.50
Research post-confirmation interest on unsecured priority tax claims and implement findings
into model                                                                                                    0   $                         -
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   Sean Allen, CFA, CPA, CIRA                                                                               8.5   $                     3,187.50
Discuss updated coal preparation, transportation and cost escalation with M. Levee                          0.9   $                       337.50
Discuss updates to LRR and exit financing discussions with M. Levee and E. Blum                             0.6   $                       225.00
Reconcile Q3 statement of cash flows to projections (LRR)                                                   2.1   $                       787.50
Research post-confirmation interest on unsecured priority tax claims and implement                          0.7   $                       262.50
Revise 2014-2016 detailed LRR model per E. Blum comments and revised mine sequencing;
revise professional fee estimates                                                                           3.2   $                     1,200.00
Update and integrate 2017-2022 LRR model                                                                      1   $                       375.00
     11/15/2014                                                                                             4.9   $                     1,737.50
   Marc Levee                                                                                                 2   $                       650.00
Review long-term projection model - diesel prices                                                           0.8   $                       260.00
Review long-term projection model and prepare related powerpoint presentation                               1.2   $                       390.00
   Sean Allen, CFA, CPA, CIRA                                                                               2.9   $                     1,087.50
Discuss latest iteration of projections with E. Blum                                                        0.8   $                       300.00
Update corporate projections for core operating model and update actual figures; reconcile
to LRR financials                                                                                       2.1       $                       787.50
     11/16/2014                                                                                         3.8       $                     1,235.00
   Marc Levee                                                                                           3.8       $                     1,235.00
Continue to work on presentation for long-term projection model at LRR Division                         0.6       $                       195.00
Prepare presentation for long-term projection model at LRR Division                                     3.2       $                     1,040.00
     11/17/2014                                                                                        13.8       $                     5,285.00
   Evan Blum                                                                                              3       $                     1,575.00
Work with ML on multiple iterations of GR memo accompanying updated LT projections to
REDACTED                                                                                                      3   $                     1,575.00
   Marc Levee                                                                                               6.8   $                     2,210.00
Edits and revisions to long-term projection presentation for LRR Division                                   1.2   $                       390.00
Final adjustments to draft presentation and send for Management and counsel review                          1.9   $                       617.50
Prepare for and participate in meeting with E. Blum and S. Allen regarding long-term
projections presentation                                                                                    0.7 $                        227.50
Review LRR presentation with E. Blum                                                                        0.7 $                        227.50
Revise long-term projections presentation per meeting with E. Bum                                             1 $                        325.00
Update LRR presentation based on meeting and discuss operating costs in the long-term
projections with S. Allen                                                                               1.3       $                       422.50
   Sean Allen, CFA, CPA, CIRA                                                                             4       $                     1,500.00
Break model into LRR only version                                                                         0       $                          -
Discuss exit financing memo with M. Levee and E. Blum                                                   0.5       $                       187.50
Prepare LRR model for distribution in connection with potential exit financing source                   2.2       $                       825.00
Review exit financing projections with M. Levee and E. Blum                                             1.3       $                       487.50
     11/18/2014                                                                                        12.9       $                     4,737.40
   Evan Blum                                                                                            0.4       $                       210.00
Call with S Allen re status of updated JAD projections needed for parties interested in exit
financing for JAD                                                                                           0.4   $                       210.00
   Marc Levee                                                                                               3.2   $                     1,040.00
Begin preparing long-term projections for the JAD Division                                                  0.4   $                       130.00
Continue to set up long-term projection model for the JAD Division                                          0.4   $                       130.00
Discuss presentation with E. Bum (0.3); further revisions per discussion (0.3)                              0.6   $                       195.00
Prepare and send projections and related presentation to potential third party financing
partner                                                                                                     0.5 $                         162.50
Updates to long-term projection presentation - various edits                                                1.3 $                         422.50
   Sean Allen, CFA, CPA, CIRA                                                                               9.3 $                       3,487.40

Update balance sheet, statement of cash flows, and income statement for Q3 results for JAD                  5.2   $                     1,950.00
Update JAD monthly shipping assumptions                                                                     4.1   $                     1,537.40
     11/19/2014                                                                                              13   $                     4,615.00
   Evan Blum                                                                                                  1   $                       525.00
Call with Company and S Allen (on site) re projections and terms in regard to REDACTED
exit financing as well as reviewing REDACTED questions on model                                               1   $                       525.00
   Marc Levee                                                                                               8.2   $                     2,665.00
Continue to work on 2017-2022 long-term projections at JAD Division                                         2.1   $                       682.50
Continue to work on cost assumptions for 2017 - 2022 at the JAD Division                                    1.6   $                       520.00
Discuss pricing and cost scenario at LRR Division and long-term projections at JAD
Division with S. Allen                                                                                      0.3 $                         97.50
Further work on cost assumptions and prepare production/revenue forecast for JAD long-
term projections                                                                                            0.8 $                        260.00
Prepare scenario based on price per ton and cost assumptions based on inflation at LRR
Division                                                                                                    0.3 $                          97.50
Work on cost assumptions for the long-term projections at the JAD Division                                  3.1 $                       1,007.50
   Sean Allen, CFA, CPA, CIRA                                                                               3.8 $                       1,425.00
Working on site; discuss JAD operations with Management; update JAD model for
discussions and in preparation of long term reserves model                                                  3.8 $                       1,425.00
     11/20/2014                                                                                             8.9 $                       3,247.50
   Marc Levee                                                                                               1.8 $                         585.00
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Continue to work on cost assumptions for JAD long-term model - R&M, tires, fuel & lube                       1.2 $                          390.00
Review secured debt file and reconcile to long-term projections at LRR Division                              0.6 $                          195.00
   Sean Allen, CFA, CPA, CIRA                                                                                7.1 $                        2,662.50
Discuss progress of financing discussions, respond to questions by potential source of
financing; update JAD summary and assumptions; discuss projections with potential source
of financing                                                                                                 7.1 $                        2,662.50
     11/21/2014                                                                                              6.8 $                        2,460.00
   Marc Levee                                                                                                1.8 $                          585.00
Call with Management and S. Allen to discuss long-term JAD production assumptions;
follow up call with S. Allen re the same                                                                     0.5 $                          162.50
Continue to work on JAD long-term projections - yards, ratios, production                                    1.3 $                          422.50
   Sean Allen, CFA, CPA, CIRA                                                                                  5 $                        1,875.00
Discuss auger projections with Management in regards to projections for sources of exit
financing                                                                                                    0.4 $                         150.00
Discuss Ivyton bridge analysis with M. Levee and E. Blum regards to projections for sources
of exit financing                                                                                            0.6 $                         225.00
Discuss JAD projections in connection with potential exit financing with M. Levee                            0.4 $                         150.00

Discuss JAD reserves with M. Levee in regards to projections for sources of exit financing                   0.4 $                         150.00
Discuss JAD reserves with Management in regards to projections for sources of exit
financing                                                                                                0.4       $                        150.00
Update exit financing projection for LRR                                                                 2.8       $                      1,050.00
     11/22/2014                                                                                          0.6       $                        225.00
   Sean Allen, CFA, CPA, CIRA                                                                            0.6       $                        225.00
Discuss LRR operations and exit financing progression with E. Blum                                       0.6       $                        225.00
     11/23/2014                                                                                          4.1       $                      1,577.50
   Evan Blum                                                                                             0.4       $                        210.00
Call with ML and SA re post petition financing memo update                                               0.4       $                        210.00
   Marc Levee                                                                                            0.4       $                        130.00
Call with EB and SA re post petition financing memo update                                               0.4       $                        130.00
   Sean Allen, CFA, CPA, CIRA                                                                            3.3       $                      1,237.50
Discuss LRR exit financing projections and presentation with M. Levee and E. Blum                        0.4       $                        150.00
Update LRR exit financing projections and presentation per comments from E. Blum                         2.9       $                      1,087.50
     11/24/2014                                                                                         10.5       $                      3,772.50
   Evan Blum                                                                                             0.9       $                        472.50
Call with counsel to discuss LRR and JAD projections                                                     0.8       $                        420.00
Email correspondence with SB re need for JAD mining projections                                          0.1       $                         52.50
   Marc Levee                                                                                              6       $                      1,950.00
Continue to work on production/revenue assumptions for JAD Division; follow up
discussion with Company                                                                                        1   $                       325.00
Further work on revenue and production assumptions at JAD Division for 2017-2022                             1.6   $                       520.00
Prepare certain charts for JAD Division's long-term projections presentation                                   2   $                       650.00
Review mine reserves at JAD Division                                                                         0.8   $                       260.00
Work on production/revenue assumptions with regards to deep mine for the 2017-2022
period                                                                                                       0.6 $                          195.00
   Sean Allen, CFA, CPA, CIRA                                                                                3.6 $                        1,350.00
Discuss JAD operations, bonding and reserves with Management (for use in exit financing
materials)                                                                                               0.5       $                        187.50
Update JAD 2014-2016 projections for reserves updates                                                    3.1       $                      1,162.50
     11/25/2014                                                                                         18.7       $                      6,427.50
   Marc Levee                                                                                           11.7       $                      3,802.50

continue to prepare first draft of JAD long-term projections presentation and send for review                0.5   $                       162.50
Discuss JAD mining reserves with S. Allen                                                                    0.3   $                        97.50
Further work on JAD long-term projections - revenue/production, reserves                                     1.2   $                       390.00
Review long-term projections at JAD Division with S. Allen                                                   0.9   $                       292.50
Work on long-term projections at JAD - 2017-2022                                                             0.3   $                        97.50

Work on long-term projections for JAD Division - coal prep assumptions, auger production                 2.5       $                        812.50
Work on presentation of long-term JAD projections                                                        4.5       $                      1,462.50
Work on surety bonds assumptions at JAD for long-term projections                                        1.5       $                        487.50
   Sean Allen, CFA, CPA, CIRA                                                                              7       $                      2,625.00
Discuss JAD reserves information with Management and M. Levee                                            0.3       $                        112.50
Prepare JAD 2014-2016 projections for distribution                                                       3.4       $                      1,275.00
Review long term JAD projections with M. Levee                                                           0.9       $                        337.50
Update auger projections (JAD)                                                                           2.4       $                        900.00
     11/26/2014                                                                                         26.2       $                     10,150.00
   Evan Blum                                                                                             5.1       $                      2,677.50
Review updated GR JAD projection memo; call with ML to review by page and make
further changes                                                                                              1.6 $                         840.00
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Work on JAD projections with SA and ML for 2014-2022 time period; address modeling
assumptions including discussions on certain issues with JC, MW and SB. Review first draft
of GR JAD projection memo; mark with changes and review with SA and ML.                                       3.5   $                      1,837.50
   Marc Levee                                                                                                 8.8   $                      2,860.00
Call with EB to review by page and make further changes                                                         1   $                        325.00
Discuss JAD long-term projections presentation with E. Blum                                                   1.2   $                        390.00
Meet with E. Blum and S. Allen to discuss exit financing projections at LRR and JAD
Divisions                                                                                                 3.9 $                            1,267.50
Work on JAD projections with EB and SA for 2014-2022 time period                                          2.7 $                              877.50
   Sean Allen, CFA, CPA, CIRA                                                                            12.3 $                            4,612.50
Meet to discuss exit financing projections and presentation thereof with M. Levee and E.
Blum                                                                                                          4.2 $                        1,575.00
Prepare fuel and lubrication bridge analysis comparing impact of multiple variables on per
ton costs at request of potential exit financing source                                                       5.4   $                      2,025.00
Work on JAD projections with EB and ML for 2014-2022 time period                                              2.7   $                      1,012.50
     11/27/2014                                                                                               1.6   $                        520.00
   Marc Levee                                                                                                 1.6   $                        520.00
Update draft presentation of long-term projections at JAD and send for review                                 1.6   $                        520.00
     11/28/2014                                                                                                 5   $                      2,215.00
   Evan Blum                                                                                                  2.8   $                      1,470.00
Call with JC to discuss JAD projections                                                                       0.2   $                        105.00
Call with M Levee to review GR JAD projection memo; update with changes; distribute
internally                                                                                                    1.6   $                       840.00
Call with MW to discuss JAD projections                                                                       0.2   $                       105.00
Review updated JAD GR projection memo                                                                         0.8   $                       420.00
   Marc Levee                                                                                                 1.6   $                       520.00
Call with EB to review GR JAD projection memo                                                                 0.8   $                       260.00

Discuss next iteration of long-term projections presentation at JAD with E. Blum and revise                   0.8   $                        260.00
   Sean Allen, CFA, CPA, CIRA                                                                                 0.6   $                        225.00
Call with EB, JC and SB re GR memo on JAD projections                                                         0.6   $                        225.00
     11/29/2014                                                                                               0.4   $                        150.00
   Sean Allen, CFA, CPA, CIRA                                                                                 0.4   $                        150.00
Discuss exit financing progress with E. Blum                                                                  0.4   $                        150.00
     11/30/2014                                                                                               2.3   $                      1,032.50
   Evan Blum                                                                                                  1.3   $                        682.50
Call with MW to discuss GR memo on JAD projections                                                            0.5   $                        262.50
Call with S Allen, JC and SB re GR memo on JAD projections                                                    0.6   $                        315.00
Review GR JAD projection memo and email to SA needed changes                                                  0.2   $                        105.00
   Marc Levee                                                                                                 0.5   $                        162.50

Update JAD long-term projections presentation for long-term contracts and send for review                     0.5   $                       162.50
   Sean Allen, CFA, CPA, CIRA                                                                                 0.5   $                       187.50
Discuss exit financing progress with E. Blum and Management                                                   0.5   $                       187.50
                    Relief from Stay/ Adequate Protection Proceedings                                         0.2   $                       105.00
     11/3/2014                                                                                                0.2   $                       105.00
   Evan Blum                                                                                                  0.2   $                       105.00
Review Court Approved Extensions for Adequate Protection Payments - Caterpillar;
Komatsu; Commercial Bank; JAD Lenders                                                                     0.2       $                        105.00
                                           Tax Issues                                                     0.5       $                        172.50
     11/2/2014                                                                                            0.1       $                         52.50
   Evan Blum                                                                                              0.1       $                         52.50
Review S Allen memo on personal property tax claim and priority in liquidation                            0.1       $                         52.50
     11/3/2014                                                                                            0.3       $                         67.50
   David Neyhart, CPA                                                                                     0.3       $                         67.50
Reserach unmined mineral tax amounts for JAD.                                                             0.3       $                         67.50
     11/9/2014                                                                                            0.1       $                         52.50
   Evan Blum                                                                                              0.1       $                         52.50
Review KY Property Tax levied on JAD - priority claim                                                     0.1       $                         52.50
                                            Valuation                                                    57.1       $                     17,107.50
     11/1/2014                                                                                            4.7       $                      2,182.50
   David Neyhart, CPA                                                                                     0.3       $                         67.50
Call with EB to discuss valuation analysis and liquidation waterfall                                      0.3       $                         67.50
   Evan Blum                                                                                              3.1       $                      1,627.50
Email exchange with counsel re treatment of reclamation claims and severance taxes in
liquidation scenario                                                                                          0.1 $                          52.50
Review Oct 30 Resource Tech appraisal report (.8); review GR report summarizing orderly
liquidation based on report (.6); call with D Neyhart to discuss memo (.3); call with D
Drebsky to discuss certain issues(.2); call with S Allen to discuss certain issues (.2); write
additional pages to GR memo (.4); meet with S Allen in NJ to discuss and review updated
GR memo (.5)                                                                                                    3 $                        1,575.00
   Sean Allen, CFA, CPA, CIRA                                                                                 1.3 $                          487.50
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                                                         Time Detail for November Fee Statement
                                          Time Entry                                        Billable Hours           Billable Amount
Discuss valuation, various scenarios, and valuation memo with E. Blum                                      0.7   $                       262.50
Revise valuation memo per earlier meeting                                                                  0.6   $                       225.00
     11/2/2014                                                                                             4.3   $                     1,237.50
   David Neyhart, CPA                                                                                      3.4   $                       765.00
Call with EB to discuss changes to valuation and liquidation analysis.                                     0.2   $                        45.00
Update liquidation analysis based on comments from EB and SA.                                              2.7   $                       607.50
Update liquidation presentation after call with EB.                                                        0.5   $                       112.50
   Evan Blum                                                                                               0.9   $                       472.50
Email exchange with counsel re valuation of pre April 2008 equipment                                       0.1   $                        52.50
Review updated GR memo on orderly liquidation value (.6); call with D Neyhart regarding
changes (.2)                                                                                               0.8   $                       420.00
     11/3/2014                                                                                           18.5    $                     5,677.50
   David Neyhart, CPA                                                                                       11   $                     2,475.00
Calculate equity/deficiency amounts for each secured creditor based on revised balance
sheet figures.                                                                                             0.8   $                      180.00
Discussions with MG re analysis of DCF and going concern assumptions in the valuation
report.                                                                                                    0.4   $                       90.00
Meeting with EB to discuss updates to liquidation and valuation analysis.                                  0.3   $                       67.50
Review going concern assumptions from Resource Technologies report and discussions with
MG and SA regarding same.                                                                                  2.8   $                      630.00
Update liquidation analysis based on revised balance sheet info from company.                              2.7   $                      607.50
Update liquidation analysis to include going concern assumptions.                                          2.8   $                      630.00
Update liquidation presentation based on going concern assumptions and updated account
balances.                                                                                                  1.2   $                       270.00
   Evan Blum                                                                                               2.6   $                     1,365.00
Call with D Drebsky re reclamation impact on Resource Tech appraisal (.2); follow with
MW re details of company's reclamation and bonding program to assess impact of
reclamation liability on Resource Tech appraisal (.5)                                                      0.7   $                      367.50
Call with Laura Day re reclamation impact on valuation analysis                                            0.5   $                      262.50
Review further updated GR memo on liquidation value based on Resource Tech report (.3);
call with S Allen to discuss changes to memo (.2); call with MW to discuss draft memo re
same to be sent for his comments(.2)                                                                       0.7   $                      367.50
Review valuation assumptions re waterfall with MW based upon Resource Tech appraisal                       0.2   $                      105.00
Work with S Allen on recovery spreadsheet based on Resource Tech appraisal                                 0.5   $                      262.50
Marshall Glade, CPA                                                                                        2.6   $                      975.00
Analyze updated resource technologies going concern report; calls with D Neyhart to discuss
various issues                                                                                             1.7   $                      637.50
Call with DN and E B to discuss going concern analysis and follow up with DN re same                       0.5   $                      187.50
Discussions with DN re analysis of DCF and going concern assumptions in the valuation
report                                                                                                     0.4   $                       150.00
   Sean Allen, CFA, CPA, CIRA                                                                              2.3   $                       862.50
Correspondence with Management re: valuation issues                                                        0.6   $                       225.00
Discuss reclamation liability with D. Drebsky and E. Blum                                                  0.2   $                        75.00
Discuss reclamation with M. Windisch and E. Blum                                                           0.5   $                       187.50
Discuss valuation in orderly liquidation scenario with D. Neyhart                                          0.5   $                       187.50
Internal GR Meeting re: cash flow projections and valuation                                                0.5   $                       187.50
     11/4/2014                                                                                           12.3    $                     3,667.50
   David Neyhart, CPA                                                                                      8.1   $                     1,822.50
Call with MG and EB to discuss going concern analysis and follow up with MG regarding
same.                                                                                                      0.5   $                      112.50
Follow up with JK regarding going concern appraisal analysis.                                              0.7   $                      157.50
Meeting with GR team to discuss updating valuation analysis and impact of liquidation
analysis.                                                                                                  0.6   $                      135.00
Prepare analysis of going concern assumptions used in appraisal report.                                    2.8   $                      630.00
Prepare isolated waterfall analysis for each entity.                                                       1.9   $                      427.50
Update valuation and liquidation analysis with isolated waterfall analysis.                                1.6   $                      360.00
   Evan Blum                                                                                               1.8   $                      945.00
Call with MG and DN re going concern portion of Resource Tech appraisal and open
questions (.5); review initial GR analysis (.2)                                                            0.7   $                      367.50
Call with MW and S Allen re valuation of HWM 37                                                            0.4   $                      210.00
Work with D Neyhart in updating GR valuation analysis for orderly liquidation based on
appraisal; counsel comments; additional waterfall analysis                                                 0.7   $                       367.50
Marshall Glade, CPA                                                                                          2   $                       750.00
Liquidation analysis and review; summarize resource technology assumptions and analyze                       2   $                       750.00
   Sean Allen, CFA, CPA, CIRA                                                                              0.4   $                       150.00
Discuss capital expenditures and equipment valuation with Management and E. Blum                           0.4   $                       150.00
     11/5/2014                                                                                             4.2   $                     1,215.00
   David Neyhart, CPA                                                                                      2.9   $                       652.50
Call with EB, Counsel, and the Company to discuss valuation analysis.                                      0.5   $                       112.50

Meeting with EB and SA to discuss projections used in valuation models and follow up after.                0.4 $                         90.00
Review going concern analysis prepared by Resource Technologies.                                             2 $                        450.00
  Evan Blum                                                                                                0.5 $                        262.50
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                                        Time Entry                                         Billable Hours           Billable Amount
Review GR memo on orderly liquidation based on appraisal with Nixon Del Cotto & Co                        0.5   $                      262.50
Marshall Glade, CPA                                                                                       0.4   $                      150.00
Discuss projections and valuation with DN, SA and EB                                                      0.4   $                      150.00
   Sean Allen, CFA, CPA, CIRA                                                                             0.4   $                      150.00
Discuss projections and valuation with D. Neyhart, M. Glade, and E. Blum                                  0.4   $                      150.00
    11/6/2014                                                                                             3.1   $                      697.50
   David Neyhart, CPA                                                                                     3.1   $                      697.50
Update going concern analysis with revised appraisal estimate which included terminal
value.                                                                                                    3.1   $                      697.50
    11/7/2014                                                                                             2.1   $                      472.50
   David Neyhart, CPA                                                                                     2.1   $                      472.50
Review DCF model used by appraiser and identify equipment classifications (needed for
ops/not needed for ops)                                                                                   1.4   $                       315.00
Update going concern slides with equipment info.                                                          0.7   $                       157.50
    11/19/2014                                                                                            5.6   $                     1,440.00
   David Neyhart, CPA                                                                                       5   $                     1,125.00

Meetings with EB to discuss going concern analysis and resource technologies DCF model.                   0.6 $                        135.00
Review and update going concern analysis and presenation.                                                   1 $                        225.00
Review resource technologies final appraisal report.                                                      2.8 $                        630.00
Update exhibit showing equipment needed/not needed as determined in resource
technologies final appraisal report.                                                                      0.6 $                        135.00
   Evan Blum                                                                                              0.6 $                        315.00

Meetings with DN to discuss going concern analysis and resource technologies DCF model                    0.6   $                      315.00
    11/20/2014                                                                                            2.3   $                      517.50
  David Neyhart, CPA                                                                                      2.3   $                      517.50
Review final resource technologies appraisal report.                                                      1.8   $                      405.00
Update going concern analysis based on final appraisal report.                                            0.5   $                      112.50

                                      Grand Total                                                      437.4 $                    159,929.80
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                                                                   Expense Detail for November Fee Statement

Transaction Date        Category for Court               Professional Full Name                                    Description                            Billable Slip Value
       11/1/2014 Local Travel                      Marc Levee                         Car from NYC office to LGA airport for S. Allen and M. Levee on                      $75.88
                                                                                      10/20/14 for flight to Lexinginton
         11/1/2014 Local Travel                    Marc Levee                         Car from EWR airport to home on 10/23/14 (12:50am pick-up) -                       $132.02
                                                                                      flight back from Lexington
         11/1/2014     (c) Meals                   Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (working breakfast with E. Blum)                                   $5.75
         11/3/2014     Local Travel                Evan Blum                          Car N Caldwell- NWK airport 10/22 trip                                             $135.56
         11/3/2014     Meals (local)               David Neyhart, CPA                 Late night dinner at office in NY.                                                  $10.00
         11/3/2014     Local Travel                David Neyhart, CPA                 Cab home after 10 in NY.                                                            $22.00
         11/3/2014     Meals (local)               Marc Levee                         Dinner in NYC office                                                                 $8.50
         11/4/2014     Local Travel                Sean Allen, CFA, CPA, CIRA         Late night transportation from office to home (after 9:00 PM)                      $118.18
         11/4/2014     Meals (local)               Marc Levee                         Dinner in NYC office for M. Levee, S. Allen, and D. Neyhart                         $35.21
         11/7/2014     Local Travel                Marc Levee                         Late night car home from NYC office (12:00 AM pick-up on                           $132.74
                                                                                      morning of 11/4)
         11/9/2014     (a) Transportation          Evan Blum                          Airfare LAG-LEX                                                                   $611.10
         11/9/2014     Local Travel                Evan Blum                          Park NYC Sunday to prepare for trip to Lex                                          $35.00
        11/10/2014     (c) Meals                   Evan Blum                          Lex airport dinner                                                                   $7.37
        11/10/2014     (d) Ground Transportation   Evan Blum                          Car rental lex visit                                                               $128.02
        11/10/2014     (b) Hotel                   Evan Blum                          Hotel Lex - 11/9 visit                                                            $104.35
        11/10/2014     Local Travel                Evan Blum                          Taxi Nwk airport - home                                                             $66.00
        11/10/2014     (a) Transportation          Evan Blum                          Airfare LEX-NWK                                                                   $383.60
        11/13/2014     Local Travel                Sean Allen, CFA, CPA, CIRA         Late night transportation from office to home (after 9:00 PM)                      $118.18
        11/15/2014     (c) Meals                   Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (working breakfast with E. Blum)                                   $8.50
        11/19/2014     (a) Transportation          Sean Allen, CFA, CPA, CIRA         Round trip coach airfare from Newark, NJ to Louisville, KY                       $1,364.20
        11/19/2014     (c) Meals                   Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (travel)                                                           $9.23
        11/19/2014     (b) Hotel                   Sean Allen, CFA, CPA, CIRA         One night lodging in Lexington, KY                                                $104.35
        11/19/2014     (a) Transportation          Evan Blum                          Airfare LAG-LEX                                                                   $586.10
        11/19/2014     (d) Ground Transportation   Evan Blum                          Taxi Lex airport - hotel                                                            $51.18
        11/19/2014     (b) Hotel                   Evan Blum                          Hotel visit to lex                                                                $169.00
        11/19/2014     Local Travel                Sean Allen, CFA, CPA, CIRA         Tolls ($3.60) + mileage to airport (2014 IRS mileage rate $0.56 x                   $18.16
                                                                                      26 miles)
        11/19/2014     (c) Meals                   Evan Blum                          Dinner LAG airport prior to flight to lex                                           $39.33
        11/19/2014     (c) Meals                   Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (travel)                                                           $7.10
        11/20/2014     (c) Meals                   Evan Blum                          Dinner in Lex - MW and EG with EB                                                   $95.73
        11/20/2014     (b) Hotel                   Evan Blum                          Hotel visit to lex                                                                 $134.97
        11/20/2014     (c) Meals                   Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (travel)                                                          $20.94
        11/20/2014     Local Travel                Sean Allen, CFA, CPA, CIRA         Tolls ($3.60) + mileage to airport (2014 IRS mileage rate $0.56 x                   $18.16
                                                                                      26 miles)
        11/20/2014     (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA         Fuel                                                                                $19.12
        11/20/2014     Local Travel                Sean Allen, CFA, CPA, CIRA         Parking (2 days)                                                                    $66.00
        11/20/2014     (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA         Rental car                                                                         $163.24
        11/21/2014     (a) Transportation          Evan Blum                          Airfare Lex-LAG                                                                    $586.10
        11/25/2014     Meals (local)               Marc Levee                         Dinner in NYC office                                                                 $7.19
        11/25/2014     Local Travel                Sean Allen, CFA, CPA, CIRA         Late night transportation from office to home (after 9:00 PM)                      $118.18

                                                                                      Total                                                                            $5,716.24
